Case 1:03-cr-01382-NGG              Document 667              Filed 05/02/06   Page 1 of 6 PageID #: 2220




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,
                                                                       MEMORANDUM & ORDER

         v.                                                            03-CR-1382 (NGG)

 ANTHONY URSO, et. al.,

                            Defendants
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 GARAUFIS, United States District Judge.

         This Memorandum and Order will address the Government’s motion to empanel an

 anonymous and partially sequestered jury for the upcoming trial in this case. The Government

 requests (a) that the identities of all prospective jurors, including names, addresses, and places of

 employment, be concealed from all parties and their attorneys; and (b) that from the time each

 juror is empaneled until the conclusion of the trial, the jurors be escorted by representatives of

 the United States Marshals Service to and from the courthouse each day and at all times during

 recesses. Because I find that empaneling an anonymous and partially sequestered jury is

 necessary to protect the interests of the public and the jurors, and that doing so will not prejudice

 the Defendants’ interests in conducting a meaningful voir dire or in maintaining a presumption of

 innocence, the Government’s motion is GRANTED.

 Discussion

         The Second Circuit has upheld the use of an anonymous jury where “first, [there is]

 strong reason to believe that the jury needs protection and, second, reasonable precaution is taken

 to minimize the effect that such a decision might have on the jurors’ opinions of the defendants.”

 United States v. Amuso, 21 F.3d 1251, 1264 (2d Cir. 1994) (internal citations omitted).
Case 1:03-cr-01382-NGG           Document 667          Filed 05/02/06   Page 2 of 6 PageID #: 2221




 Nonetheless, the Circuit has warned that, “[t]he invocation of the words ‘organized crime,’

 ‘mob,’ or ‘Mafia,’ unless there is something more, does not warrant an anonymous jury.”

 United States v. Vario, 943 F.2d 236, 241 (2d Cir. 1991). Furthermore, “the empaneling of an

 anonymous jury and its potential impact on the constitutionality of a trial must receive close

 judicial scrutiny and be evaluated in the light of reason, principle and common sense.” Id. at 239

 (internal citations omitted).

        1. Need for protection

        The Government urges that an anonymous and partially sequestered jury is warranted in

 this trial because all defendants are charged with at least one murder racketeering act, all are

 alleged to be members of the Bonanno organized crime family (“OCF”), which has a history of

 obstruction of justice, and that two of the defendants are accused of having murdered a co-

 conspirator suspected of cooperating with the government. (Gov’t Mem. Law Supp. Mot. Anon.

 Jury (“Gov’t Mem.”), at 1-8.) The Defendants respond that an anonymous and partially

 sequestered jury compromises their right to a jury trial that no neutral explanation can overcome.

 (See, e.g., Diarmuid White Ltr., dated Feb. 23, 2006.)

        In the current superseding indictment (S-1), Baldassare Amato (“Amato”), Anthony

 Basile (“Basile”), and Stephen LoCurto (“LoCurto”) are alleged to have been, at various points,

 captains, soldiers in and/or associates of the Bonanno OCF. (Indictment S-1 ¶ 8; Gov’t Mem., at

 2-3.) It is undisputed that the Bonanno OCF has a long history of acts of intimidation and

 violence against those who would cooperate with the government, including, inter alia, a co-

 conspirator indicted in this trial (who later pleaded guilty) who was quoted by a newspaper as

 advocating the killing of families of co-conspirators who offer evidence against Bonanno OCF


                                                   2
Case 1:03-cr-01382-NGG          Document 667           Filed 05/02/06   Page 3 of 6 PageID #: 2222




 members, and the murder of four co-conspirators because of suspected cooperation with the

 Government. (Gov’t Mem., at 4-7.) The Government also alleges that the Bonanno OCF

 attempted to obstruct a prior related trial, United States v. Massino, 02-CR-307 (E.D.N.Y.)

 (Garaufis, J.), by tampering with an individual in the jury pool. (Gov’t Mem., at 7.)

        All Defendants are accused by the Government of being involved in at least one murder.

 Amato is charged in a racketeering conspiracy with two predicate acts involving murder and

 murder conspiracy, one predicate act involving an armed robbery, and two predicate acts and

 three substantive counts involving illegal gambling. (Gov’t Mem., at 3 (citing Indictment S-1).)

 Basile is charged in a racketeering conspiracy with two predicate acts involving murder and

 murder conspiracy, one narcotics trafficking predicate act, and one loansharking predicate act.

 (Id.) LoCurto is charged in a racketeering conspiracy with one predicate act involving murder,

 two predicate acts involving drug trafficking, and a predicate act involving extortion. (Gov’t Ltr.

 Reply Mot. Anon. Jury, dated Feb. 21, 2006, at 1.) Predicate act thirty-three alleges that Amato

 and Basile conspired to murder and murdered Robert Perrino because of suspicion that Perrino

 would cooperate in a state investigation of the Bonanno OCF. (Gov’t Mem., at 7-8; Indictment

 S-1 ¶¶ 84-86.) These allegations and evidence point to a willingness to interfere with the judicial

 process.

        Recently, this court has had occasion to consider the same motion in a related case,

 United States v. Basciano, 03-CR-929, slip op. (E.D.N.Y. Nov. 17, 2005), and I ordered an

 anonymous and semi-sequestered jury for reasons that are quite similar to the ones raised in the

 instant motion. Just as in United States v. Basciano, in which this court found that the serious

 allegations in that case, including allegations that one of the defendants tried to tamper with a


                                                   3
Case 1:03-cr-01382-NGG          Document 667           Filed 05/02/06   Page 4 of 6 PageID #: 2223




 government witness, warranted an anonymous and partially sequestered jury, id. at 5, in the

 instant motion, the serious nature of the charges, the dangerousness of the defendants, and the

 history of alleged obstruction of justice by Defendants and the Bonanno OCF demonstrate the

 need for an anonymous and partially sequestered jury.

        For these reasons, I find that the Government has shown strong allegations that the

 Defendants have a history of obstruction of justice, and that the trial evidence will depict a

 pattern of violence that could cause a juror to reasonably fear for his or her own safety. As a

 result, the public interest in a fair trial will be best served by empaneling an anonymous and

 partially sequestered jury.

        2. Reasonable precautions

        Despite these clear indications that an anonymous jury is warranted, I take very seriously

 the Defendants’ constitutional rights to a fair trial and an impartial jury. As Judge Glasser

 described in United States v. Bellomo, 263 F.Supp.2d 557, 559 (E.D.N.Y. 2003), it is important

 “that a balance be struck between the government’s interest in the integrity of the judicial process

 and the defendant’s interest in preserving and safeguarding the presumption of innocence.” To

 implement a fair balance, reasonable precautions must be taken to minimize any potential

 prejudice, particularly with respect to Defendants’ right to a meaningful voir dire and

 Defendants’ right to maintain a presumption of innocence. See United States v. Amuso, 21 F.3d

 at 1264.

        I shall now explain the steps the court will take to protect the Defendants’ right to a

 meaningful voir dire. The court will give each potential juror an extensive written questionnaire,

 developed with input from government and defense attorneys. Both parties will be able to


                                                   4
Case 1:03-cr-01382-NGG           Document 667            Filed 05/02/06    Page 5 of 6 PageID #: 2224




 examine the answers to these questionnaires. Furthermore, each prospective juror will be

 questioned in person by the court, after consultation with counsel, to uncover any potential bias.

 The protected information, i.e. name, address, and place of employment, will not add significant

 relevant pedigree information not already available through the written questionnaire and verbal

 questioning. Therefore, this process will ensure that each Defendant has a meaningful

 opportunity to conduct voir dire and make informed choices during jury selection. See United

 States v. Barnes, 604 F.2d 121, 140 (2d Cir. 1979) (“As long as a defendant’s substantial rights

 are protected by a voir dire designed to uncover bias as to issues in the cases and as to the

 defendant himself, then reasonable limitations on the questioning should not be disturbed on

 appeal.”)

         In order to protect Defendants from being tried by a jury that is prejudiced as to the guilt

 or violent nature of the Defendants, prospective jurors will be given a neutral explanation for the

 security measures. I will instruct the prospective jurors that the reason for their anonymity and

 partial sequestration is to maintain their personal privacy and their ability to render a fair verdict

 in light of the media and public attention that this trial is likely to receive. I will also instruct the

 jurors that transportation is being provided to protect their privacy and to ensure a timely start to

 each day of what promises to be a long trial. I find that these explanations are both plausible and

 nonprejudicial.1 See United States v. Aulicino, 44 F.3d 1102, 1116 (2d Cir. 1995).


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           I note for the record the objections of defense counsel for Amato and LoCurto, who
 urge that the jury will infer, contrary to court explanations, that the jury is anonymous and is
 receiving U.S. Marshal protection because of the dangerousness of Defendants; I also note this
 court’s general preference for a non-anonymous and a non-sequestered jury. However, the
 prejudice to Defendants of this possible, impermissible inference by the jury is overcome by the
 specific facts of this case, which includes allegations of murder in order to obstruct justice.
 Furthermore, I reject defense counsel’s suggestion that these precautions are not reasonably

                                                     5
Case 1:03-cr-01382-NGG          Document 667           Filed 05/02/06    Page 6 of 6 PageID #: 2225




 Conclusion

        I believe an anonymous and partially sequestered jury will ensure that the Defendants

 receive a fair trial and that a verdict is reached based on the evidence, rather than on fear,

 intimidation or misinformation. I therefore GRANT the Government’s motion to empanel an

 anonymous and partially sequestered jury.


 SO ORDERED.

                                                         __/s/______________________
 Dated: May 2, 2006                                      Nicholas G. Garaufis
 Brooklyn, N.Y.                                          United States District Judge




 effective in insulating the jury from tampering. On balance, I find that the prejudice caused to
 Defendants is subordinate to the right of the Government to present its case with a reasonable
 certainty of an untampered jury, and this court’s interest in the regulation of its courtroom
 without illegal interference.

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